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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
                               Minutes of Proceedings



  OFFICE: CAMDEN                                   DATE: March 21, 2022

  JUDGE MATTHEW SKAHILL, U.S.M.J.

  COURT REPORTER: Court Conference Line

  TITLE OF CASE:                                   DOCKET NO. 17-928(CPO)
  LEVINS et al
  v.
  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC et al


 APPEARANCES:
 Philip Stern, Esq. for Plaintiffs
 Jonathan Stuckel Esq. for Defendant


 NATURE OF PROCEEDINGS: Status Conference/Discovery Hearing
 Telephone Status Conference and Discovery Hearing held on the record.
 Order to be entered.




                                                        s/Ryan Sanders
                                                        DEPUTY CLERK




  TIME COMMENCED: 2:03 p.m.
  TIME ADJOURNED: 2:46 p.m.
  TOTAL TIME: 43 minutes
